Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 1 of 22




                          EXHIBIT G
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 2 of 22




                                                            PLAINTIFF, ALEXIS LOPEZ
                                                                              000018
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 3 of 22




                                                            PLAINTIFF, ALEXIS LOPEZ
                                                                              000019
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 4 of 22




                                                            PLAINTIFF, ALEXIS LOPEZ
                                                                              000020
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 5 of 22




                                                            PLAINTIFF, ALEXIS LOPEZ
                                                                              000021
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 6 of 22




                                                            PLAINTIFF, ALEXIS LOPEZ
                                                                              000022
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 7 of 22




                                                            PLAINTIFF, ALEXIS LOPEZ
                                                                              000023
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 8 of 22




                                                            PLAINTIFF, ALEXIS LOPEZ
                                                                              000024
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 9 of 22




                                                            PLAINTIFF, ALEXIS LOPEZ
                                                                              000025
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 10 of 22




                                                             PLAINTIFF, ALEXIS LOPEZ
                                                                               000026
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 11 of 22




                                                             PLAINTIFF, ALEXIS LOPEZ
                                                                               000027
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 12 of 22




                                                             PLAINTIFF, ALEXIS LOPEZ
                                                                               000028
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 13 of 22




                                                             PLAINTIFF, ALEXIS LOPEZ
                                                                               000029
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 14 of 22




                                                             PLAINTIFF, ALEXIS LOPEZ
                                                                               000030
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 15 of 22




                                                             PLAINTIFF, ALEXIS LOPEZ
                                                                               000031
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 16 of 22




                                                             PLAINTIFF, ALEXIS LOPEZ
                                                                               000032
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 17 of 22




                                                             PLAINTIFF, ALEXIS LOPEZ
                                                                               000033
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 18 of 22




                                                             PLAINTIFF, ALEXIS LOPEZ
                                                                               000034
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 19 of 22




                                                                           PLAINTIFF, ALEXIS LOPEZ
                                                                                             000035
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 20 of 22




                                                                                       PLAINTIFF, ALEXIS LOPEZ
                                                                                                         000036
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 21 of 22




                                                                                       PLAINTIFF, ALEXIS LOPEZ
                                                                                                         000037
Case 1:20-cv-24528-JLK Document 14-7 Entered on FLSD Docket 11/29/2021 Page 22 of 22




                                                                                       PLAINTIFF, ALEXIS LOPEZ
                                                                                                         000038
